

People v Stokes (2018 NY Slip Op 07933)





People v Stokes


2018 NY Slip Op 07933


Decided on November 20, 2018


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 20, 2018

Renwick, J.P., Richter, Tom, Kern, Oing, JJ.


169/15 7643A 7643

[*1] The People of the State of New York, Respondent,
vHoward Stokes, Defendant-Appellant.


Christina A. Swarns, Office of the Appellate Defender, New York (Eunice C. Lee of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Michael D. Tarbutton of counsel), for respondent.



Judgment, Supreme Court, New York County (Melissa C. Jackson, J.), rendered May 12, 2016, convicting defendant, upon his plea of guilty, of burglary in the second degree and robbery in the third degree, and sentencing him to an aggregate term of five years, and order (same court and Justice), entered on or about October 19, 2017, which denied defendant's CPL 440.20 motion to set aside his sentence, unanimously affirmed.
Defendant made a valid waiver of his right to appeal. The court's oral colloquy with defendant concerning the waiver avoided conflating the right to appeal with the rights normally forfeited upon a guilty plea, and an isolated remark by the court, when viewed in context, had no such effect. The oral colloquy met or exceeded the minimum standards for such a colloquy (see People v Bryant, 28 NY3d 1094 [2016]), and it was supplemented by a written waiver that defendant signed after consulting with counsel. Defendant's valid waiver of the right to appeal forecloses his claims that the court misunderstood the lawful scope of sentencing and that the sentence was excessive (see People v Brito, 159 AD3d 410 [1st Dept 2018], lv denied 31 NY3d 1011 [2018]).
Defendant's CPL 440.20 motion was properly denied, because the sentence imposed was not unlawful.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: NOVEMBER 20, 2018
CLERK








